
NYC Acupuncture, P.C. as Assignee of Steven Denis, Appellant, -
againstA. Central Insurance Company, Respondent.



Appeal from an order of the Civil Court of the City of New York, Queens County (Maureen A. Healy, J.), entered July 9, 2013. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
For the reasons stated in Pierre Jean Jacques Renelique as Assignee of Mercedes Sandoual v New York Cent. Mut. Fire Ins. Co. (___ Misc 3d ___, 2016 NY Slip Op 50378[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2016]), the order is affirmed.
Pesce, P.J., Aliotta and Elliot, JJ., concur.
Decision Date: April 08, 2016










